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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                 PLAINTIFF

vs.                               CASE NO. 4:03CR00181GH
BILLY EASTLAND AND JOE MACK POOL                                     DEFENDANTS


                                       ORDER

       The Court, after having conducted an in camera review of the rough notes of the
agents, finds that the government should provide copies of the rough notes to
defendants.
       IT IS SO ORDERED this 5th day of July, 2005.




                                               ___________________________________
                                               UNITED STATES DISTRICT JUDGE




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